   Case 1:20-cr-00482-NLH Document 17 Filed 12/30/20 Page 1 of 2 PageID: 41

                                                                                  USDC DNJ
                                                                                  DOCUMENT
                                                                                  ELECTRONICALLY FILED
                          IN THE UNITED STATES DISTRICT COURT                     DOC #: ___________________
                             FOR THE DISTRICT OF NEW JERSEY                                   December 17, 2020
                                                                                  DATE FILED: _______________



IN RE: SUSPENSION OF IN-PERSON JUDICIAL :
PROCEEDINGS AND LIMITATION OF GRAND     : EXTENSION OF
JURY PROCEEDINGS, DUE TO THE RESURGENCE : STANDING ORDER 2020-17
OF COVID-19                             :

       WHEREAS, due to the ongoing resurgence of COVID-19, the National Emergency
declared on March 13, 2020 continues in effect, and the national public health emergency
declaration, first made on January 31, 2020, was renewed by the federal government on
October 23, 2020 and will last until January 21, 2021; and

       WHEREAS, on November 23, 2020, the Governor of the State of New Jersey extended
 the Public Health Emergency, first declared on March 9, 2020, until December 23, 2020, and
 is expected to renew that declaration at that time for another 30 days, due to the continued
 resurgence of COVID-19; and

        WHEREAS, the Centers for Disease Control and Prevention (CDC) and other public
 health authorities continue to advise taking precautions to reduce the possibility of exposure
 to COVID-19 and to slow the spread of the disease by, among other things, wearing face
 coverings, severely restricting the size of group gatherings of people, especially indoor
 gatherings, and maintaining six feet of physical distance from others (“social distancing”); and

          WHEREAS, the United States District Court for the District of New Jersey (“Court”)
is still in Phase Three of its Recovery Guidelines, mandating the wearing of face coverings,
social distancing, limited elevator occupancy and observance of instructional signage, and the
duration of Phase Three remains uncertain; and

        WHEREAS, due to the second wave of infection from COVID-19, the Court’s
previously-entered Standing Orders, applicable to all persons seeking entry into and occupying
this District’s courthouses, and which require the wearing of face coverings (2020-13), establish
a COVID-19 protocol for all entrants (2020-14), and institute temperature screenings of all
entrants (2020-16), remain in effect; and
        WHEREAS, the resurgence of COVID-19 is now occurring in all states and territories
of the United States, and consequently, New Jersey’s travel advisory is no longer specific to
certain states and indicates that there is an increased risk of spread of COVID-19 upon return
from any travel; and

        WHEREAS, the daily number of new cases of COVID-19 in New Jersey continues
its upswing trend, reaching a record high of 6,240 on December 12, 2020, and the number of
deaths resulting from the pandemic totaled 17,775 as of December 14, 2020; and
   Case 1:20-cr-00482-NLH Document 17 Filed 12/30/20 Page 2 of 2 PageID: 42




       WHEREAS, despite pleas by the Governor of New Jersey to restrict holiday travel
and gatherings, individuals’ exposure to COVID-19 is expected to rise due to holidays, such as
Chanukah, Christmas, and New Year’s Eve and Day; and

        WHEREAS, even if accorded priority grouping under the New Jersey COVID-19
Vaccination Plan, the prison population and the federal judiciary of New Jersey are not expected
to receive the requisite second dose of the COVID-19 vaccine before January 31, 2021, and
vaccination of the general population is not anticipated before March 2021; and

       WHEREAS, prisoners’ in-person attendance at judicial proceedings therefore still
increases the risk of exposure to COVID-19 among the prison population, prison staff, Court
employees, this Court’s Security Officers and Deputies of the U.S. Marshals Service; and

        WHEREAS, in response to the continued, severe effects of the ongoing second wave of
COVID-19, presenting a serious threat to public health and safety, the Court deems it necessary
to extend its prior suspension of all in-person judicial proceedings, in both civil and criminal
cases, regardless of whether the criminal defendant is in or out of custody,

       IT IS, THEREFORE, on this 17th day of December, 2020, ORDERED THAT:

        1. Except as otherwise provided herein, all in-person judicial proceedings in this
District, in both civil and criminal cases, shall be suspended through January 31, 2021.

       2. Notwithstanding the provisions of this Extension, the provisions of the Court’s
Third Extension of Amended Standing Order 2020-06 (“In Re: Video Conferencing and
Teleconferencing for Criminal Proceedings under The CARES Act”) shall remain in full force
and effect.

       3. During the suspension period, extended herein through January 31, 2021,
Probation and Pretrial Services shall be permitted to bring defendants/individuals under
supervision into the District’s courthouses for extraordinary circumstances and emergent
matters only, for the protection of the community and officers, upon approval of the Chief
Probation or Chief Pretrial Services Officer, and such appearances shall be by appointment
only and by escort into the office space, with advance notification provided to the U.S.
Marshals Service and Court Security Officers.

       4. Until further Order of the Court, grand jury sittings in this District shall be limited
and convened only to the extent deemed necessary and warranted under the circumstances.


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                                                             Hon. Freda L. Wolfso
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                                                             U.S.
                                                             U S Chief District Judge
                                                                                Judge
                                                             District of New Jersey
